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                                 No. 17-1104C Gro Se)
                     (Filed: November 17 ,2017 | Not for Publication)

                                                     Keywords: Pro Se Complaint; Subject
STEVEN E. EDWARDS,                                   Mafler Jurisdiction; 28 U.S.C.
                                                     A
                        Plaintiff,                       "{<


THE LINITED STATES OF AMERICA,

                        Defendant.



Steven E. Edwards,   Weilsville, KS, pro   se.


Joshua A. Mendlebaum, Trial Attomey, commercial Litigation Branch, civil Division,
U.S. Department of Justice, Washington, DC, with whom were Tara K Hogan, Assistant
Director, Robert E. Kirschman, "/r., Director, and Chad A' Readler, Acting Assistant
Attomey General, for Plaintiff.

                                  OPINIONAI{D ORDER

KAPLAN, Judge.
        pro se Plaintiff Steven Edwards alleges that the govemment has breached the
terms of a plea agreement he entered in 2006, causing him money damages. Mr. Edwards
has previously filed two similar complaints before the Court of Federal Claims. See
Compl., Edwards v. United States (Edwards I), No' 13-cv-971 (Dec' 9,2013)' Dkt' No' 1;
Compl., Edwards v. United States GdwardslD, No. 17-cv-1038 (Julv 31, 2017)' Dk1'
No. i. those complaints were dismissed without prejudice. See Opinion and Order at 2,
Edwards I (Jan. 10, 2014), Dkt. No. 5 (dismissing complaint for lack of subject mattel
j*irai"tion); Order at 1-2, Edwards II ( Aug.4,2017), Dkt. No' 5 (dismissing complaint
iased on N4r. Edwards's failure to pay the filing fee and on deficiencies in Mr. Edwards's
 motion to proceed in forma pauperis). The govemment has now moved to similarly
 dismiss Mr. Edwards'Surrent complaint. Dkt. No. 6. For the reasons discussed below, the
 sovemment's motion is GRANTED.I




 Mr. Edwards has also filed a motion to proceed in forma pauperis, Dkt. No. 4, which the
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Court GRAITITS solely for purposes of deciding the govemment's motion to dismiss'



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                                     BACKGROUND2

        In 2006, Mr. Edwards entered into a plea agreement with the United States, in
which he agreed to plead guilty to several charges, including two counts of mail fraud
and one count of theft of health care funds. Def.'s Mot. to Dismiss (Def.'s Mot.) App. at
A82-83; see also id. at A26. He also consented to the forfeiture of certain property. Id. at
A83. On June 26,2006, thelJnited States District Cou( for the Middle District of North
Carolina entered judgement against him; sentenced him to a term of imprisonment; and
ordered him to pay criminal monetary penalties in the form offines, a special assessment,
and restitution. ld. at A26-27 , A30. The court also ordered the forfeiture of certain
properties to the united states. Id. at A'31.

       Over the next several years, Mr. Edwards embarked on a long course of litigation
challenging his conviction pursuant to 28 u.s.c. $ 2255, both before the Middle District
of North Carolina and Court ofAppeals for the Fourth Circuit.s See id. at A7-25, A61-
62. Among other things, he claimed that he did not voluntarily and intelligently enter the
plea agreement. See id. at 454-58. The district court rejected his arguments' and the
Fourth Circuit repeatedly declined to permit him to file a second or successive $ 2255
motion. Id. at 461-65; see also 28 U.S.C. $ 2255(h) (providing that "[a] second or
successive motion must be certified . . . by a panel ofthe appropriate court of appeals").

        In December 2013, Mr. Edwards frled his first complaint in the Court of Federal
Claims, in which he alleged that the plea agreement was "unconstitutional" and
,.unla*firl" and thus that his restitution payments and the forfeited assets "should all be
given back to [him]." See id. at A71, A76. Judge Wheeler dismissed the complaint for
lack of subject matter jurisdiction, observing that "claims for breach ofplea agreements
and other agreements unique to the criminal justice system should be brought in the
courts in which they were negotiated and executed." Id- at A81 (quoting Sanders v.
United States, 252F .3d 1329, 1335 (Fed. Cir. 2001))'

         Mr. Edwards filed his second complaint on July 31, 2017. Compl', Edwards II. In
it, he alleged that the govemment "didn't honor and go by what the Plea Agreement


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 The facts set forth in this section are based on the allegations in Mr' Edwards's
complaint, which the Court accepts as true for purposes ofdeciding the governrnent's
moti,on, as well as on the contents of the documents attached to the govemment's motion.

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    Section 2255(a) provides as follows:

         A   prisoner in custody under sentence of a court established by Act of
          Congress claiming the right to be released upon the gtound that the sentence
          was imposed in violation of the Constitution or laws of the United States,
          or that the court was without jurisdiction to impose such sentence, or that
          the sentence was in excess of the maximum authorized by law' or is
          otherwise subject to collateral attack, may move the court which imposed
          the sentence to vacate, set aside or correct the sentence.
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sa[id]" and that his "forfeiture amount . . . should be retumed" to him. Id. at 5-6. As
noted, Judge Hom dismissed the complaint based on Mr. Edwards's failure to pay the
court's filing fee and on deficiencies in his motion to proceed in forma pauoeris. Order at
1-2, Edwards II. Judge Hom also noted, however, that'1o the extent [Mr. Edwards was]
complaining about an earlier criminal case, his plea agreement, and his subsequent
incarceration, this court lacks jurisdiction to adjudicate those claims." Id. at 2.

        Mr. Edwards filed the present complaint on August 8, 2017. See Compl. at 1. In
line with his previous complaints, he alleges that the govemment "took roughly over
$10,000,000 in Cash and assets[] that [he] now deserve[s] back." Id. He claims that he is
"not complaining about [his] criminal case" and that he 'Just really want[s] the United
States . . . to honor [his] . . . Plea Agreement Bargain contract ." ld' at l-2. He also alleges
that his "complaints . . . include[]" several named individuals, although he does not
describe how those individuals engaged in any unlawful conduct. Id. at 2.

                                        DISCUSSION

        In deciding a motion to dismiss for lack of subject matter jurisdiction, the cout
accepts as true all undisputed facts in the pleadings and draws all reasonable inferences in
favor ofthe plaintiff. Trusted Intesmtion. Inc. v. United States, 659 F'3d 1159, 1163
(Fed. Cir. 2011). The court may also "inquire into jurisdictional facts" to determine
whether it has jurisdiction. Rocovich v. United States , 933 F .2d 991,993 (Fed. Cir.
1991). It is well established that complaints filed by pro se plaintiffs (as is this one), are
held to "less stringent standards than formal pleadings drafted by lawyers." Haines v.
Kemer,404 U.S. 519, 520 (1972). Nonetheless, even pro se plaintiffs must persuade the
Court that jurisdictional requirements have been met. Bemard v. United States, 59 Fed.
 Cl. 497, 499 (2004), af? d,98 Fed. App'x 860 (Fed. Cit.2004)'

        The Court of Federal Claims has jurisdiction under the Tucker Act to hear "any
claim against the United States founded either upon the Constitution, or any Act of
Congress or any regulation ofan executive department, or upon any express or implied
contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort." 23 U.S.C. $ 1491(a\1) (2012). The Tucker Act waives the sovereign
immunity of the United States to ailow a suit for money damages, United States v.
Mitcheli,463 U.S. 206,212 (1983), but it does not confer any substantive rights. United
States v. Testan,424 U.S. 392, 39S (1976). Therefore, a plaintiff seeking to invoke the
court's Tucker Actjurisdiction must identifr an independent source of a substantive right
to money damages from the United States arising out ofa contract, statute, regulation or
constitutional provision. Jan's Helicopter Serv.. Inc. v. Fed. Aviation Admin.' 525 F.3d
 1299, 1306 (Fed. Cir. 2008).

        Applying these standards, the Court concludes that it lacks jurisdiction over Mr.
Edwards's claims. The Federal Circuit has held that "alleged breaches ofplea agreements
and other agreements arising out of the criminal justice system do not ordinarily give rise
to claims for money damages" under the Tucker Act. Sanders, 252F .3d at 1336; see also
Kania v. United States, 650 F.2d 458, 465-66 (Ct. Cl. 1981), cert. denied, 454 U.S. 895
(1981); Phane v. United States, 87 Fed. CL.321,328-28 (2009). This is so because "'the
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high function of enforcing and policing the criminal law is assigned to the courts of
general jurisdiction and not' to" the Court of Federal Claims, which has no jurisdiction
over criminal matters. Sanders,252F.3d at 1335 (quoting Kania, 650 F.2d at268).

        The Federal Circuit has recognized the possibility that a plea agreement that
included "express language" setting forth an "unmistakable promise to subject the United
States to monetary liability" could support a claim for money damages under the Tucker
Act. See Sanders,252F.3dat 1336. Mr. Edwards's plea agreement, however, includes no
such language. Under Sanders and Kania, the Court therefore lacks jurisdiction to
consider his claim for damages arising out ofthe plea agreement's alleged breach'a

                                     CONCLUSION

      For the reasons discussed above, the Court lacks jurisdiction over Mr. Edwards's
complaint. The govemment's motion to dismiss is therefore GRANTED and Mr.
Edwards's complaint is DISMISSED without prejudice. The Clerk is directed to enter
judgment accordingly. Each side shall bear its own costs.

       IT IS SO ORDERED.


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                                                     ELAINE D. KAPLAN
                                                     Judge




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  Further, to the extent Mr. Edwards asserts any claims against individuals employed by
the federal govemment, the Court lacks jurisdiction over such claims. See United States
v. Sherwood, 312 U.S. 584, 588 (1941) C'[I]fthe relief sought is against others than the
United States the suit as to them must be ignored as beyond the jurisdiction of the
court.").


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